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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                   CASE NO. 4:18-cr-00339

 UNITED STATES OF AMERICA

 vs.

 DUSTIN CURRY,
 CLINT CARR,
 HASSAN BARNES, and
 FRASIEL HUGHEY,
                              Defendants.
                                                 /

                                    (PROPOSED) ORDER

         Having considered the United States’ Motion for Authorization to Release Records, and

for good cause shown,

         IT IS HEREBY ORDERED THAT the United States’ motion is GRANTED.

         IT IS FURTHER ORDERED THAT the Filter Team is authorized to release to the

Prosecution Team the Records referenced in the United States’ Motion.



         IT IS SO ORDERED this the ____ day of ____________, 2022.



                                            _______________________________

                                            THE HONORABLE_____________
